       CASE 0:22-cr-00076-KMM-TNL Doc. 28 Filed 06/16/22 Page 1 of 3



                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
                    Criminal No. 22-076(1) (KMM/TNL)

                                )
UNITED STATES OF AMERICA,       )
                                )
              Plaintiff,        )
                                )
                                                ORDER OF DETENTION
         v.                     )
                                )
SHEVIRIO KAVIRION CHILDS-YOUNG, )
                                )
              Defendant.        )


     This matter came before the Court on June 16, 2022, for an arraignment

pursuant to Rule 10 of the Rules of Criminal Procedure, and a hearing on the

Government’s Motion for Detention pursuant to 18 U.S.C. § 3142(f)(2).

     At the hearing, Mr. Childs-Young was present by video and represented

by Manvir K. Atwal, Assistant Federal Defender.      The United States was

represented by Lindsey Middlecamp, Assistant United States Attorney.

Before the hearing, pre-trial services interviewed Mr. Childs-Young and issued

a report recommending detention, finding that Mr. Childs-Young presented a

risk of non-appearance and a danger to the community.

     In light of his custody status with the State of Minnesota, Mr. Childs-

Young waived his right to a detention hearing and waived his Interstate

Agreement on Detainers rights (see Document No. 22), but reserved the right

to move for reconsideration of the issue of detention should his circumstances
       CASE 0:22-cr-00076-KMM-TNL Doc. 28 Filed 06/16/22 Page 2 of 3



materially change.

           FINDINGS OF FACT AND CONCLUSIONS OF LAW

      1.    Because Mr. Childs-Young has been charged with a crime of

violence, there is a rebuttable presumption that no condition or combination of

conditions will reasonably assure the appearance of Mr. Childs-Young and the

safety of the community. Based on the record before the Court, the Court

finds that this presumption has not been rebutted.

      2.    Consequently, the Court concludes, pursuant to 18 U.S.C. §

3142(e), that detention is appropriate. The United States has met its burden

and has shown by a preponderance of the evidence that Mr. Childs-Young is a

flight risk, and by clear and convincing evidence that Mr. Childs-Young is a

danger to the community. There is no condition, or combination of conditions,

that will reasonably assure Mr. Childs-Young’s appearance at court

proceedings and the safety of the community.

            For the foregoing reasons,

      IT IS HEREBY ORDERED that:

      1.    Pursuant to 18 U.S.C. § 3142(e), the Government’s Motion for

Detention of Mr. Childs-Young without bond is GRANTED;

      2.    Mr. Childs-Young is committed to the custody of the United States

Marshal for confinement in a correctional facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in


                                         2
       CASE 0:22-cr-00076-KMM-TNL Doc. 28 Filed 06/16/22 Page 3 of 3



custody pending appeal;

      3.    Mr. Childs-Young shall be afforded reasonable opportunity to

consult privately with his counsel; and

      4.    Upon order of the Court or request by the United States Attorney,

the person in charge of the correctional facility in which Mr. Childs-Young is

confined shall deliver him to the United States Marshal for the purpose of

appearance in connection with all court proceedings.


Dated: June 16, 2022

                                          s/John F. Docherty
                                          Honorable John F. Docherty
                                          United States Magistrate Judge




                                      3
